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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                               CASE NO. 19-CR-20242-UNGARO

 UNITED STATES OF AMERICA,

            Plaintiff,
 vs.

 MEGHANA RAJADHYAKSHA,

          Defendant.
 ______________________________/

                         DEFENDANT’S WRITTEN OBJECTION
                    TO THE PRESENTENCE INVESTIGATION REPORT

 Prepared for:                                The Honorable Ursula Ungaro
                                              United States District Judge

 Prepared by:                                 Christopher G. Lyons, Esq.
                                              2601 South Bayshore Drive, Suite 800
                                              Miami, Florida 33133

 United States:                               Stephanie L. Hauser, AUSA
                                              99 NE 4th Street
                                              Miami, Florida 33132

 Sentencing:                                  July 25, 2019 at 1:30 p.m.


        Defendant, MEGHANA RAJADHYAKSHA, (“Defendant”), by and through her

 undersigned counsel, and pursuant to Rule 32(f) of the Federal Rules of Criminal Procedure,

 hereby files her objection to the Presentence Investigation Report (“PSIR”) prepared by the

 probation office and as grounds therefore states the following:

 I.     INTRODUCTION

        On May 31, 2019, Defendant pled guilty to Counts One (1) through Four (4) of a four-

 count Information. Counts One (1) through Three (3) charged Defendant with Mail Fraud in


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 violation of18 U.S.C. § 1341, and Count Four (4) charged Defendant with Sale of Stolen Goods

 in violation of 18 U.S.C. § 2315.

        Defendant’s sole legal objection to the PSIR is the probation office’s determination of the

 amount of restitution that Defendant should be ordered to pay to the victim pursuant to the

 Mandatory Victims Restitution Act.

 II.    OBJECTION TO PSIR

        A.      Amount of Restitution

        The probation office determined that the total amount of restitution that Defendant should

 be ordered to pay the victim, T.J. Maxx, is $179,334.80. PSIR at ¶’s 30 and 93. The probation

 office determined this amount of restitution based upon a Declaration of Victim Losses affidavit

 submitted by a representative of T.J. Maxx, Luke Goldworn. According to Mr. Goldworn’s

 submission, T.J. Maxx seeks restitution in the amount of $179,334.80 as follows: 1) $134,719.22

 in merchandise; 2) $9,430.40 for taxes; 3) $699.30 shipping; 4) $689.31 on shipping returns; and

 5) $33,796.57 for cost of investigation. PSIR at ¶ 30

        Defendant does not dispute that T.J Maxx is entitled to restitution in this matter.

 However, it is Defendant’s position that T.J. Maxx’s internal cost of investigation ($33,796.57)

 is not recoverable under the Mandatory Victims Restitution Act. See Lagos v. United States, 138

 S. Ct. 1684 (2018).

       Defendant respectfully requests the Court sustain her objection to the PSIR and

 order restitution in the amount of $145,538.23.

       Pursuant to Local Rule 88.9, undersigned counsel has conferred with AUSA

 Stephanie Hauser. At the time of filing Defendant’s objection to the PSIR, the United

 States has not yet indicated its position on the matter.


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                                                    Respectfully submitted,

                                                    MASE MEBANE & BRIGGS, P.A.
                                                    Attorneys for Defendant
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                                                    Miami, Florida 33133
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                                              By: /s/ Christopher G. Lyons
                                                  CHRISTOPHER G. LYONS
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                                                  carbleaez@maselaw.com
                                                  filing@maselaw.com



                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on July 18, 2019, the foregoing has been electronically filed

 with the Clerk of Court and served on all parties of record through CM/ECF.


                                                     /s/Christopher G. Lyons____
                                                     CHRISTOPHER G. LYONS




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                                    MASE MEBANE & BRIGGS
